AO 722A
(Rev. 8/82)

 

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In the Anited States District Court
for the Southern District of Georgia

Brunswick Division
KORONE ROBINSON,
Plaintiff,
CV 217-099

CITY OF DARIEN; DONNIE HOWARD;
RYAN ALEXANDER; and JOSEPH
CRESWELL,

 

Defendants.

ORDER

 

The Court issued an. Order on the Motion for Summary
Judgment on April 16, 2019. Dkt. No. 46. The pretrial order
was due May 7, 2019. See Dkt. No. 15 at 3 n.2 (“If a motion for
summary judgment or other dispositive motion is pending at the
time of [the pretrial order] deadline . . . the parties shall
file the proposed pretrial order within twenty-one (21) days of
this Court’s ruling on the motion for summary judgment or other
dispositive motion.”). The parties are ORDERED, within seven
(7) days of the date of this Order, to show cause why this case
should not be dismissed for failure to adhere to the Court’s

deadlines.

 
AO 72A
(Rev. 8/82)

 

 

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SO ORDERED, this 244 day of May, 2019.

 

HON. LIZA GODBEY WOOD, JUDGE
UNITED’ STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
